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                            IN THE UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF OREGON

                                          PORTLAND DIVISION

 SARA SUAREZ,                                                      )     Case No. 3:19-cv-00095-BR
                                                                   )
                            Plaintiff,                             )     DEFENDANT TONY
                                                                   )     KLEIN'S ANSWER AND
                   V.                                              )     AFFIRMATIVE DEFENSES
                                                                   )     TO THE SECOND
 Oregon Department of Corrections (ODOC) Director                  )     AMENDED COMPLAINT
 Colette Peters, ODOC PREA Coordinator Ms. Ericka                  )
 Sage, ODOC Deputy Director Brian Belleque, Tony                   )
 Klein, ODOC Past Chief Medical Officer Dr. Steve                  )
 Shelton, ODOC Present Chief Medical Officer Dr.                   )
 Christopher Di Giulio, ODOC Assistant Director of                 )
 Correctional Services Heidi Steward, ODOC Health                  )
 Services Manager Joe Bugher, Joe DeCamp, ODOC                     )
 Chief Clinical Officer Danielle Fuzi, ODOC Chief                  )
 Psychologist Dr. Don Dravis, ODOC Behavioral                      )
 Health Services Administrator Dawnell Meyer,                      )
 ODOC Assistant Director of Operations Michael                     )
 Gower, ODOC Past Superintendent Rob Persson,                      )
 John/Jane Doe CCCF Medical Director, Jane Doe                     )
 CCCF Nursing Manager, John/Jane Doe BHS                           )
 Counselors, John/Jane Doe Nurses, John/Jane Doe                   )
 Security Staff, and State of Oregon,                              )
                                                                   )
                            Defendants.                            )


1 - DEFENDANT TONY KLEIN'S ANSWER AND AFFIRMATIVE DEFENSES TO THE SECOND AMENDED
COMPLAINT
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         For his Answer, Defendant-Tony Klein ("Klein") hereby admits, denies, and alleges as

follows:

                                                          1.

         Paragraph 1 is DENIED.

                                                          2.

         Paragraph 2 is ADMITTED.

                                                          3.

         Paragraph 3 is ADMITTED.

                                                          4.

         Paragraph 4 is DENIED.

                                                          5.

         Paragraph 5 is ADMITTED.

                                                          6.

         Paragraph 6 is admitted in part and denied in part as follows: Klein ADMITS that

Collette Peters is the Director of ODOC and responsible for ODOC, including compliance

matters, generally. Klein has insufficient information about Collette Peters' actions and

relationship with the Governor to admit or deny the balance of allegations and on that basis

DENIES the same.

                                                          7.

         Paragraph 7 is admitted in part and denied in part as follows: Klein ADMITS that Brian

Belleque is the Deputy Director of ODOC, Klein has insufficient information about Brian

Belleque's duties to admit the balance of allegations and on that basis DENIES the same.

/Ill

2 - DEFENDANT TONY KLEIN'S ANSWER AND AFFIRMATIVE DEFENSES TO THE SECOND AMENDED
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                                                         8.

         Paragraph 8 is admitted and denied as follows: Klein ADMITS that Michael Gower is the

Assistant Director of Operations at ODOC, Klein has insufficient information about Michael

Gower's duties to admit or deny the balance of allegations and on that basis DENIES the same.

                                                         9.

         Paragraph 9 is admitted in part and denied in part as follows: Klein ADMITS that Ericka

Sage was the PREA Coordinator for ODOC, but Klein DENIES that Ericka Sage no longer holds

that position and Klein has insufficient information to admit or deny the balance of allegations

and on that basis DENIES the same.

                                                         10.

        Paragraph 10 is ADMITTED.

                                                         11.

        Paragraph 11 is admitted in part and denied in part as follows: Klein ADMITS that Heidi

Steward was the Assistant Director of Correctional Services for ODOC as alleged, Klein has

insufficient information to admit or deny the balance of allegations and on that basis DENIES

the same.

                                                         12.

        Paragraph 12 is ADMITTED.

                                                         13.

        Paragraph 13 is ADMITTED.

                                                         14.

        Paragraph 14 is ADMITTED.

/Ill

3 - DEFENDANT TONY KLEIN'S ANSWER AND AFFIRMATIVE DEFENSES TO THE SECOND AMENDED
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                                                        15.

         Paragraph 15 is ADMITTED.

                                                        16.

        Paragraph 16 is ADMITTED.

                                                        17.

        Paragraph 17 is ADMITTED.

                                                        18.

        Klein has insufficient information to admit or deny paragraph 18 and on that basis

DENIES the same.

                                                        19.

        Paragraph 19 is ADMITTED.

                                                        20.

        Klein has insufficient information to admit or deny paragraph 20 and on that basis

DENIES the same.

                                                        21.

        Klein has insufficient information to admit or deny paragraph 21 and on that basis

DENIES the same.

                                                        22.

        Klein has insufficient information to admit or deny paragraph 22 and on that basis

DENIES the same.

                                                        23.

        Klein has insufficient information to admit or deny paragraph 23 and on that basis

DENIES the same.

4 - DEFENDANT TONY KLEIN'S ANSWER AND AFFIRMATIVE DEFENSES TO THE SECOND AMENDED
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                                                         24.

         Paragraph 24 is ADMITTED.

                                                         25.

         Paragraph 25 is ADMITTED.

                                                         26.

        Klein has insufficient information to admit or deny paragraph 26 and on that basis

DENIES the same.

                                                         27.

        Paragraph 27 is DENIED.

                                                         28.

        Paragraph 28 is DENIED.

                                                         29.

        Paragraph 29 is DENIED.

                                                         30.

        Paragraph 30 does not call for an admission or denial, ORS 423.020 speaks for itself.

                                                         31.

        Paragraph 31 does not call for an admission or denial, ORS 423.075 speaks for itself.

                                                         32.

        Klein has insufficient information about the timing of adoption of "the final rule"

regarding PREA by the Oregon Department of Justice, and on that basis DENIES the same.

                                                         33.

        Paragraph 33 is ADMITTED.

/Ill

5 - DEFENDANT TONY KLEIN'S ANSWER AND AFFIRMA TNE DEFENSES TO THE SECOND AMENDED
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                                                        34.

          Paragraph 34 does not call for an admission or denial, OAR 291-124-0016(1) speaks for

itself

                                                        35.

          Paragraph 36 does not call for an admission or denial, OAR 291-124-0016(2) speaks for

itself.

                                                        36.

          Paragraph 35 does not call for an admission or denial, OAR 291-124-0016(4) speaks for

itself, although Klein notes the complaint also quotes OAR 291-124-0016(5) but omits a citation.

                                                        37.

          Paragraph 37 does not call for an admission or denial, OAR 291-124-0016(6) speaks for

itself.

                                                        38.

          Paragraph 38 does not call for an admission or denial, OAR 291-124-0016(9) speaks for

itself.

                                                        39.

          Klein has insufficient information to admit or deny paragraph 39 and on that basis

DENIES the same.

                                                        40.

          Klein has insufficient information to admit or deny paragraph 40 and on that basis

DENIES the same.

Ill/

/Ill

6 - DEFENDANT TONY KLEIN'S ANSWER AND AFFIRMATIVE DEFENSES TO THE SECOND AMENDED
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                                                          41.

         Klein has insufficient information to admit or deny paragraph 41 and on that basis

DENIES the same.

                                                          42.

         Paragraph 42 is ADMITTED.

                                                          43.

         Paragraph 43 is ADMITTED.

                                                          44.

         Paragraph 44 is admitted in part and denied in part as follows: Klein ADMITS that

female prisoners could sign up for "triage" as one way to receive medical treatment and that the

nurses made the decision about whether or not the inmate needed to see a physician. The

balance of the allegations are DENIED.

                                                          45.

         Paragraph 45 is ADMITTED.

                                                          46.

         Paragraph 46 is DENIED.

                                                          47.

        Paragraph 4 7 is admitted in part and denied in part as follows: Klein ADMITS that he

worked in triage, that he also worked in medical services, and that he oversaw inmate orderlies;

the balance of allegations are DENIED.

/Ill

/Ill

/Ill

7 - DEFENDANT TONY KLEIN'S ANSWER AND AFFIRMATIVE DEFENSES TO THE SECOND AMENDED
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                                                       48.

        Paragraph 48 is admitted in part and denied in part as follows: Klein ADMITS that he

was exposed to one-on-one situations with inmate orderlies from time to time, the balance of the

allegations are DENIED.

                                                       49.

        Paragraph 49 is admitted in part and denied in part as follows: Klein ADMITS that he

was unsupervised at times, and that he could summon inmates to report to medical, Klein

DENIES the balance of allegations.

                                                       50.

        Paragraph 50 is DENIED.

                                                       51.

        Paragraph 51 is DENIED.

                                                       52.

        Paragraph 52 is admitted in part and denied in part as follows: Klein ADMITS that he

wore scrubs at work, the balance of allegations are DENIED.

                                                       53.

        Paragraph 53 is DENIED.

                                                       54.

        Paragraph 54 is DENIED.

                                                       55.

        Paragraph 55 is ADMITTED.

                                                       56.

        Paragraph 56 is ADMITTED.

8-   DEFENDANT TONY KLEIN'S ANSWER AND AFFIRMATIVE DEFENSES TO THE SECOND AMENDED
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                                                         57.

         Paragraph 57 is ADMITTED.

                                                         58.

         Klein has insufficient information to admit or deny the allegations in paragraph 58 and on

that basis DENIES the same.

                                                         59.

         Klein has insufficient information to admit or deny the allegations in paragraph 59 and on

that basis DENIES the same.

                                                         60.

         Paragraph 60 is ADMITTED.

                                                         61.

        Paragraph 61 is ADMITTED.

                                                         62.

        Paragraph 62 is ADMITTED.

                                                         63.

        Paragraph 63 is ADMITTED.

                                                         64.

        Paragraph 64 does not call for an admission or denial, ODOC Rule 40. l.13(1II)(A)(l)

speaks for itself.

                                                         65.

        Paragraph 65 does not call for an admission or denial, ODOC Rule 40.l.13(IIl)(A)(3)

speaks for itself

/Ill

9 - DEFENDANT TONY KLEIN'S ANSWER AND AFFIRMATIVE DEFENSES TO THE SECOND AMENDED
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                                                          66.

         Paragraph 66 does not call for an admission or denial, ODOC Rule 40. l. l 3(1II)(A)(9)

speaks for itself.

                                                          67.

         Paragraph 67 is ADMITTED.

                                                          68.

         Paragraph 68 is admitted in part and denied in part as follows: Klein ADMITS that

ODOC Policy 40 requires that inmates subject to sex abuse will have access to services, Klein

DENIES that Rule 40.l.13(1Il)(D)(l)(f) mandates discipline for inmates reporting sex abuse in

bad faith; instead that rule restricts discipline for inmate reports of sex abuse to reports made in

"bad faith" (as opposed to reports that are merely unfounded), and further, that rule does not

mandate discipline, instead ODOC "may" impose discipline for "bad faith reports."

                                                          69.

         Paragraph 69 is ADMITTED.

                                                          70.

         Paragraph 70 is admitted in part and denied in part as follows: Klein ADMITS that

ODOC 40.1.13(III)(E)(2), states that the PREA Coordinator retains the responsibility as alleged

as part of a larger policy, Klein has insufficient information to admit or deny the allegation about

how ODOC "typically" handles other unalleged incidents and on that basis DENIES that

allegation.

                                                          71.

         Paragraph 71 is ADMITTED per ODOC Policy40.l.13(IIl)(H)(l)(a)-(f).

Ill/

10 - DEFENDANT TONY KLEIN'S ANSWER AND AFFIRMATIVE DEFENSES TO THE SECOND AMENDED
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                                                         72.

         Paragraph 72 is ADMITTED per ODOC Policy 40.l.13(III)(H)(2)(a) - (e).

                                                         73.

         Klein has insufficient information to admit or deny the allegations in paragraph 73 and on

that basis DENIES the same.

                                                         74.

         Klein has insufficient information to admit or deny the allegations in paragraph 74 and on

that basis DENIES the same.

                                                         75.

         Paragraph 75 is admitted in part and denied in part as follows: Klein ADMITS that

Plaintiff filed a tort claim with the State of Oregon, Klein DENIES that there were "false"

omissions in Plaintiffs chart.

                                                         76.

        Klein has insufficient information to admit or deny the allegations in paragraph 76 and on

that basis DENIES the same.

                                                         77.

        Klein has insufficient information to admit or deny the allegations in paragraph 77 and on

that basis DENIES the same.

                                                         78.

        Paragraph 78 is DENIED.

                                                         79.

        Paragraph 79 is DENIED.

Ill/

11 - DEFENDANT TONY KLEIN'S ANSWER AND AFFIRMATIVE DEFENSES TO THE SECOND AMENDED
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                                                         80.

         Klein has insufficient information to admit or deny the allegations in paragraph 80 and on

that basis DENIES the same.

                                                         81.

        Paragraph 81 is DENIED.

                                                         82.

        Paragraph 82 is DENIED.

                                                         83.

        Paragraph 83 is DENIED.

                                                         84.

        Paragraph 84 is DENIED.

                                                         85.

        Klein has insufficient information to admit or deny the allegations in paragraph 85 and on

that basis DENIES the same. To the extent that this paragraph alleges that Klein had sexual

contact with Plaintiff, it is DENIED.

                                                         86.

        Klein has insufficient information to admit or deny the allegations in paragraph 86 and on

that basis DENIES the same.

                                                         87.

        To the extent this paragraph makes factual allegations, as opposed to hyperbole, it is

DENIED.

                                                         88.

        Paragraph 88 is DENIED.

12 - DEFENDANT TONY KLEIN'S ANSWER AND AFFIRMATIVE DEFENSES TO THE SECOND AMENDED
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                                                        89.

         Paragraph 89 is DENIED.

                                                        90.

         Paragraph 90 is admitted and denied as set forth above.

                                                        91.

        Paragraph 91 is ADMITTED.

                                                        92.

        Paragraph 92 is DENIED.

                                                        93.

        Paragraph 93 and all subparts thereto are DENIED.

                                                        94.

        Paragraph 94 is DENIED.

                                                        95.

        Paragraph 95 is DENIED.

                                                        96.

        Paragraph 96 is DENIED.

                                                        97.

        Paragraph 97 is DENIED.

                                                        98.

        Paragraph 98 is admitted and denied as set forth above.

                                                        99.

        Paragraph 99 is ADMITTED.

        Ill/

13 - DEFENDANT TONY KLEIN'S ANSWER AND AFFIRMATIVE DEFENSES TO THE SECOND AMENDED
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                                                      100.

         Paragraph 100 is ADMITTED.

                                                      101.

         Paragraph 101 and all subparts thereto are DENIED.

                                                      102.

         Paragraph 102 is DENIED.

                                                      103.

         Paragraph 103 is admitted and denied as set forth above.

                                                      104.

         Paragraph 104 is ADMITTED.

                                                      105.

         Klein has insufficient information to admit or deny the allegations in paragraph 105 and

on that basis DENIES the same.

                                                      106.

         Paragraph 106 is ADMITTED.

                                                      107.

         Paragraph 107 is DENIED.

                                                      108.

         Paragraph 108 is DENIED.

                                                      109.

         Paragraph 109 is admitted and denied as set forth above.

/Ill

Ill/

14- DEFENDANT TONY KLEIN'S            ANSWER AND AFFIRMATIVE DEFENSES TO THE SECOND AMENDED
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                                                      110.

         Klein has insufficient information to admit or deny the allegations in paragraph 110 and

on that basis DENIES the same.

                                                      111.

         Paragraph 111 is DENIED.

                                                      112.

         Klein has insufficient information to admit or deny the allegations in paragraph 112 and

on that basis alone DENIES the same.

                                                      113.

         Klein has insufficient information to admit or deny the allegations in paragraph 113 and

on that basis DENIES the same.

                                                      114.

         Paragraph 114 is DENIED.

                                                      115.

         Paragraph 115 is admitted and denied as set forth above.

                                                      116.

         Paragraph 116 does not make factual allegations and thus does not call for an admission

or denial.

                                                      117.

         Paragraph 117 does not make factual allegations and thus does not call for an admission

or denial.

Ill/

/Ill

15 - DEFENDANT TONY KLEIN'S ANSWER AND AFFIRMATIVE DEFENSES TO THE SECOND AMENDED
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                                                     118.

         Klein has insufficient information to admit or deny the allegations in paragraph 118 and

on that basis DENIES the same.

                                                     119.

         Klein has insufficient information to admit or deny the allegations in paragraph 119 and

on that basis DENIES the same.

                                                     120.

         Klein has insufficient information to admit or deny the allegations in paragraph 120 and

on that basis DENIES the same.

                                                     121.

         To the extent that Paragraph 121 alleges vague similarities between the unproven

allegations made by current and former female inmates in Torres et al v. Snider et al, U.S.

District Court docket# 3:17-cv-00624:SI and the case at bar, it is ADMITTED.

                                                     122.

         Paragraph 122 is DENIED.

                                                     123 .

         Paragraph 123 is DENIED.

                                                     124.

         Klein has insufficient information to admit or deny the allegations in paragraph 124 and

on that basis DENIES the same.

                                                     125.

         To the extent that Paragraph 125 calls for an admission or denial, it is DENIED.

/Ill

16 -   DEFENDANT TONY KLEIN'S ANSWER AND AFFIRMATIVE DEFENSES TO THE SECOND AMENDED
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                                                   126.

         To the extent that Paragraph 126 calls for an admission or denial, it is DENIED.

                                                   127.

         Paragraph 127 is admitted and denied as set forth above.

                                                   128.

         Paragraph 128 is ADMITTED.

                                                   129.

         Paragraph 129 is DENIED.

                                                   130.

         Paragraph 130 and all subparts thereto are DENIED.

                                                   131.

         Paragraph 131 is DENIED.

                                                   132.

         Paragraph 132 is DENIED.

                                                   133.

         Paragraph 133 is DENIED.

                                                   134.

         Paragraph 134 is DENIED.

                                                   135.

         Paragraph 135 is admitted and denied as set forth above.

                                                   136.

         Paragraph 136 is DENIED.

Ill/

17 -   DEFENDANT TONY KLEIN'S ANSWER AND AFFIRMATIVE DEFENSES TO THE SECOND AMENDED
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                                                   137.

         Paragraph 137 is DENIED.

                                                   138.

        Klein has insufficient information to admit or deny the allegations in paragraph 13 8 and

on that basis alone DENIES the same.

                                                   139.

        Paragraph 139 is DENIED.

                                                   140.

        Unless expressly admitted above, Klein DENIES any and all allegations and that Plaintiff

is entitled to any relief.

        WHEREFORE, having answered Plaintiffs complaint, Klein hereby states and alleges

the following for his affirmative defenses:

                                 FIRST AFFIRMATIVE DEFENSE:
                                      (Statute of Limitations)

                                                   141.

        Klein incorporates the admissions, denials, and allegations above, herein.

                                                   142.

        Some or all of Plaintiffs allegations against Klein are barred by the statute oflimitations.

                                                   143.

        The theory of "continuing tort" is not available to toll or extend the statute of limitations.

                                   SECOND AFFIRMATIVE DEFENSE:
                                       (Oregon Tort Claims Act)

                                                   144.

        Klein incorporates the admissions, denials, and allegations above, herein.

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                                                     145.

         Plaintiff's state law claims are subject to the Oregon Tort Claims Act, specifically

including provisions requiring timely and adequate notice as well as damages caps.

                                  THIRD AFFIRMATIVE DEFENSE:
                                    (Prison Litigation Reform Act)

                                                     146.

         Klein incorporates the admissions, denials, and allegations above, herein.

                                                     147.

         Klein raises the provisions of the Prison Litigation Reform Act to all claims brought

under 42 U.S.C. § 1983.

                                FOURTH AFFIRMATIVE DEFENSE:
                                         (Reservation)

                                                     148.

         Klein reserves the right to raise additional, new defenses as those defenses may become

known to him through discovery.

         WHEREFORE, Klein prays for judgment in his favor, including attorney's fees and

costs, and denying Plaintiff any relief whatsoever.

         Dated this 1st day of May, 2019.

                                                    HELTZEL WILLIAMS PC


                                                    s/Andrew D. Campbell
                                                    Andrew D. Campbell, OSB #022647
                                                    Attorney for Defendant
                                                    PO Box 1048
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19 -   DEFENDANT TONY KLEIN'S ANSWER AND AFFIRMATIVE DEFENSES TO THE SECOND AMENDED
COMPLAINT
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                                               HELTZEL WILLIAMS PC
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         Case 3:19-cv-00095-BR              Document 21          Filed 05/01/19        Page 20 of 20




                                      CERTIFICATE OF SERVICE

     I hereby certify that I served the attached DEFENDANT TONY KLEIN'S ANSWER
AND AFFIRMATIVE DEFENSES TO THE SECOND AMENDED COMPLAINT

          Michelle R. Burrows                                          Andrew Hallman
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          Salem OR 97301                                               Salem, OR 97301
                 Attorney for Plaintiff                                      Attorney for Group
                                                                       Defendants


     D By mailing to said attorney(s) a full and correct copy therefor, contained in a sealed
        envelope, with postage paid, addressed to said attorney(s) as stated above and deposited
        in the United States Post Office at Salem, Oregon.

     D By hand delivering to said attorney(s) a true copy thereof.

     0 By emailing to said attorney(s) at their above listed email address(es) a true copy thereof.

     0 By electronic filing with the District Court's CM/ECF system. The CM/ECF system
        generated Notice of Electronic Filing constitutes proof of service upon a Filing User in
        accordance with Fed. R. Civ. P. S(d).

        Dated this 1st day of May, 2019.

                                                     HELTZEL WILLIAMS PC



                                                     s/Andrew D. Campbell
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                                                     Salem, OR 97308



1-   CERTIFICATE OF SERVICE
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